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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MIGUEL NEPOMUCENO VALENCIA, JUAN                                    Case No. 18-cv-11385
 CARLOS VENANCIO NEOPONUCENO, HUGO
 OSORIO LOPEZ, and LEANDRO SANCHEZ                             SETTLEMENT AGREEMENT
 DOMINGUEZ (aka ALEJANDRO), individually and                            AND
 on behalf of others similarly situated,                              RELEASE

                                  Plaintiffs,

                      -against-

 DOUGHBOYS OF 3RD AVE, INC. (D/B/A DOUGH
 BOYS PIZZA), DOUGH BOYS PIZZA OF NYC
 INC. (D/B/A DOUGH BOYS PIZZA), VAN
 SELVARAJAH, MARCUS LOREN, DUSHANTA N.
 LAKSHANI KANNANGARA, VENI DOE and
 INFAS DOE,
                         Defendants.


       This Settlement Agreement and Release of Claims (“Agreement”) is entered into by and
among Plaintiffs MIGUEL NEPOMUCENO VALENCIA, JUAN CARLOS VENANCIO
NEOPONUCENO, HUGO OSORIO LOPEZ, and LEANDRO SANCHEZ DOMINGUEZ (aka
ALEJANDRO), (“Plaintiffs”), on the one hand and Defendants DOUGHBOYS OF 3RD AVE,
INC. (D/B/A DOUGH BOYS PIZZA), DOUGH BOYS PIZZA OF NYC INC. (D/B/A DOUGH
BOYS PIZZA), VAN SELVARAJAH, MARCUS LOREN, AND DUSHANTA N. LAKSHANI
KANNANGARA, (“Appearing Defendants”) on the other hand.

       WHEREAS, Plaintiffs alleges that they worked for Defendants as employees; and

        WHEREAS, a dispute has arisen regarding Plaintiffs’ alleged employment and the terms
thereof, which dispute has resulted in the filing of an action in the United States District Court
for the Southern District of New York District of New York, Civil Action No. 18-cv-11385
(hereinafter “the Litigation”), alleging, among other things, a violation of federal and state wage
and hour and overtime laws;

        WHEREAS, Appearing Defendants deny all claims including but not limited to any
violation of federal and state wage and hour and overtime laws; and

        WHEREAS, the parties desire to resolve all disputes between them without the necessity
of further litigation;




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        NOW, THEREFORE, in consideration of the mutual covenants and promises herein
contained and other good and valuable consideration, receipt of which is hereby acknowledged, it
is hereby agreed as follows:

      1.         Payment: Appearing Defendants shall pay or cause to be paid to Plaintiffs,
subject to the terms and conditions of this Agreement, and as full, complete, and final settlement
and final satisfaction of all claims Plaintiffs had against Appearing Defendants in the Litigation
through the Effective Date of this Agreement, including all counsel fees and costs incurred by
Plaintiffs, the gross sum of Twenty-two Thousand Dollars and Zero Cents ($22,000.00) (the
"Settlement Amount") to be paid by separate checks delivered to Plaintiffs’ attorneys in one
(“1”) installment, as follows:

 MIGUEL NEPOMUCENO VALENCIA                         $4,546.67

 JUAN CARLOS VENANCIO                               $2,200.00
 NEOPONUCENO

 HUGO OSORIO LOPEZ                                  $1,613.33

 LEANDRO SANCHEZ DOMINGUEZ                          $6,306.67

 Michael Faillace & Associates, P.C.                $7,333.33


The payment checks shall be delivered to the Faillace Law Firm within sixty (60) calendar days
after the Court approves this Settlement Agreement. ,

      2.       Release and Covenant Not To Sue: Plaintiffs hereby expressly waive, release,
and forever discharge any and all claims that they had against the Appearing Defendants, or any
of Appearing Defendants’ respective owners, officers, directors, agents, attorneys, employees or
representatives, or their successors in interest, arising out of or in connection with this Litigation
and the federal and New York state wage and hour claims made therein.

     3.       No Admission of Wrongdoing:             This Agreement and compliance with this
Agreement shall not be construed as an admission by Appearing Defendants of any liability
whatsoever, or of any violation of any statute, regulation, duty, contract, right or order.

      4.       Modification of the Agreement:        This Agreement may not be changed unless
the changes are in writing and signed by a proper representative of Plaintiffs and Appearing
Defendants.

      5.       Acknowledgments: Plaintiffs acknowledges that: they has been fully and fairly
represented by counsel in this matter. Appearing Defendants acknowledge that they have
consulted with counsel for the purpose of this Agreement. Plaintiffs and Appearing Defendants
acknowledge that they are not relying upon any statement, representation or promise in
executing this Agreement except for statements, representations or promises expressly set forth
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in this Agreement. They further acknowledge and agree that the only consideration for signing
this Agreement is as set forth in this Agreement.

     6.        Notices:      Notices required under this Agreement shall be in writing, by
email, and shall be deemed given upon electronic transmission thereof. Notice hereunder shall
be delivered, by email, to:

       To Plaintiffs:

       Michael Faillace, Esq.
       MICHAEL FAILLACE & ASSOCIATES, P.C.
       60 East 42nd St. Suite 4510
       New York, NY 10165
       Tel: (212) 317-1200
       Fax: (212) 317-1620
       Email: michael@faillacelaw.com

       To Appearing Defendants:

       Richard M. Hendler, Esq.
       LAW OFFICES OF RICHARD M. HENDLER
       69 Beverly Road
       Great Neck, ny 11021
       (516)-984-6900
       Fax: (516) 693-9200
       Email: rhendler@gmail.com

      7.        Governing Law:         This Agreement shall be governed by, and interpreted in
accordance with, the laws of the State of New York, excluding the conflict-of-laws principles
thereof. The parties consent and stipulate to the personal jurisdiction of the United States
District Court for the Southern District of New York and the Supreme Court of the State of New
York in any subsequent proceeding to enforce this Agreement.

      8.         Enforceability:               If any provision of this Agreement is held to be
illegal, void, or unenforceable, such provision shall be of no force or effect. However, the
illegality or unenforceability of such provision shall have no effect upon, and shall not impair
the legality or enforceability of, any other provision of this Agreement.

      9.       Release Notification:          Plaintiffs discussed the terms of this Agreement
and release of claims with their legal counsel and Plaintiffs acknowledges that they have
consulted with Michael Faillace, Esq. of Michael Faillace & Associates, P.C., Plaintiffs
acknowledges that it is their choice to waive any claims in return for the benefits set forth herein
and that they made this decision after careful thought and a reasonable period of time to
consider this Agreement, and after an opportunity to consult with their attorneys. Plaintiffs
confirms that this Settlement Agreement and Release has been translated to them in Spanish and
that they understand the terms of this Agreement and that they are signing this Agreement
voluntarily.
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        10. Counterparts:              To signify their agreement to the terms of this Agreement
and Release, the parties have executed this Agreement on the date set forth opposite their
signatures, which appear below. This Agreement may be executed in two or more counterparts
and each of such counterparts, for all purposes, shall be deemed to be an original but all of such
counterparts together shall constitute but one and the same instrument, binding upon all parties
hereto, notwithstanding that all of such parties may not have executed the same counterpart.
This agreement may also be executed by facsimile or electronic transmission.

 PLAINTIFFS


 By:                                               Dated:
 ____________________________________              _____________________________________
   MIGUEL NEPOMUCENO VALENCIA

 By:                                               Dated:
 ____________________________________              _____________________________________
       JUAN CARLOS VENANCIO
            NEOPONUCENO

 By:                                               Dated:
 ____________________________________              _____________________________________
         HUGO OSORIO LOPEZ

 By:                                               Dated:
 ____________________________________              _____________________________________
    LEANDRO SANCHEZ DOMINGUEZ
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APPEARING DEFENDANTS


By:                                     Dated:
____________________________________    _____________________________________
   For DOUGHBOYS OF 3RD AVE, INC.


By:                                     Dated:
____________________________________    _____________________________________
 For DOUGH BOYS PIZZA OF NYC INC..

                                        Dated:
 ____________________________________   _____________________________________
      VAN SELVARAJAH
                                        Dated:
 ____________________________________   _____________________________________
      MARCUS LOREN

                                        Dated:
 ____________________________________   _____________________________________
      DUSHANTA N. LAKSHANI
      KANNANGARA,
